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 8                            UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
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11     BECTON, DICKINSON AND                             Case No.: 21-CV-1173-CAB-NLS
       COMPANY, SIRIGEN, INC., and
12
       SIRIGEN II LIMITED,                               Notice re: Claim Construction Hearing
13                                      Plaintiff,
14     v.
15
       BECKMAN COULTER, INC.,
16                                    Defendant.
17
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19          To facilitate and focus argument at the claim construction hearing scheduled for May
20    26, 2022, the Court provides, as Exhibit A, its preliminary constructions of the terms and
21    phrases at issue.
22    Dated: May 24, 2022
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 1                   Court’s Exhibit A to Notice re: Claim Construction Hearing
 2       The parties have submitted four terms or phrases for claim construction in this matter.
 3    Having reviewed the patents and the parties’ filings, and to assist with focusing argument
 4    at the claim construction hearing on May 26, 2022, the Court provides the following
 5    preliminary constructions:
 6       1. “MU is a polymer modifying unit or band gap modifying unit”
 7          In accordance with the plain language of the claim and the specification, the Court
 8          finds that MU is not required to be present in the structure of the water soluble
 9          conjugated polymer of independent claim 1 of the asserted patents (i.e., it can be
10          0% of the mol %).
11          Note: Based on this construction, the Court therefore understands that a water
12          soluble conjugated polymer consisting of a single aryl or heteroaryl unit substituted
13          with a non-ionic side group capable of imparting solubility in water (or a structure
14          with each R independently a non-ionic side group capable of imparting solubility
15          in water in excess of 10 mg/mL); G1 and G2 endcaps meeting the additional
16          limitations of claim; and the polymer comprises at least 1 functional group meeting
17          the claim limitations, could be found to infringe or invalidate these independent
18          claims without reference to the other structural limitations of the claim (MU, L1
19          and L2) as they do not need to be present.
20       2. ”b is mol% from 0 to 90%”
21          0 is zero, meaning the limitation is not present in the structure
22       3. “substituted with one or more pendant chains terminated with a functional group”
23          The Court understands this claim to require that if a linker is present in the
24          structure, it must have at least one pendant chain that terminates with a functional
25          group that meets the remaining claim limitation. The plain language of the claim
26          does not require that all chains pendant from a linker terminate with a functional
27          group, or the same functional group.
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 1       4. “the polymer comprises at least 1 functional group selected from [identified
 2          function groups] within G1, G2, L1 or L2, or a conjugated organic dye or
            biomolecule”
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            Grammatically defendant’s construction of the specific limitation has merit,
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            however in the context of the claim in its entirety, plaintiff’s construction is
 5
            supported by the preceding claim limitations that list G1, G2, L1 or L2 terminating
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            with a described functional group or alternatively terminating with a conjugated
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            organic dye or biomolecule indicating they should be construed to be within the
 8
            endcaps or linkers.
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